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                                                              PAGE 1 of?                                    i

                                                           CIRCUIT COURT OF
 31207S:RG:gv                                          C                 LTNOIS
                                                                         N
                                                       CLERK DOROTHY BROWN
              IN THE CIRCUIT COURT OF COOK COUNTY, IStSNtlTS-
                              COUNTY DEPARTMENT - LAW DIVISION
 MARTHA ESPINOZA                                         )
                                                         )
       Plaintiff,                                        )   No,
                                                         )
 VS:
                                                         )
                                                         )    Amount: In excess of Fifty Thousand
                                                         )   Dollars ($50,000,00) plus cost of this suit            -
 TARGET CORPORATION, a domestic                         )
 corporation, and TARGET STORE #2087, a                 )
 domestic corporation;                                  )
                                                        )
                                                        )
       Defendants.                                           Return Date


                                               COMPLAINT

         NOW COMES the Plaintiff, MARTHA ESPINOZA, by and through her attorneys, THE


 VRDOLYAK LAW GROUP, LLC, and complaining of the Defendants, TARGET


 CORPORATION, a domestic corporation, and TARGET STORE #2087, a domestic corporation,

 states as follows:


                COUNT I - MARTHA ESPINOZA v, TARGET CORPORATION
                                                                                                                :
         1.         That on or about July 28, 2015 and at all relevant times herein, the Defendant,


 TARGET CORPORATION, was a domestic corporation, organized and licensed to do business

 and existing under the laws of the State of Illinois,


         2          That at the aforesaid time, and at all relevant times herein, the Defendant did own,

 operate, manage, and/or control a certain premise, located at or near 4120 W. 951'1 Street, Oak

Lawn, Illinois 60453,


         3,         That at the aforesaid time and place, and at all relevant times herein, the

                                                                                                            :

Defendant made said premises available to the general public and said business was, in fact, used




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                          by the general public.

                                   4     That at the aforesaid time and place, and at all relevant times herein', Defendant

                          invited and allowed the Plaintiff, MARTHA ESPJNOZA to enter upon said premises and

                          Plaintiff was, in fact, lawfully upon said premises,


                                   5     That at the aforesaid time and place, and at all relevant times herein, the Plaintiff

                          was an intended and permitted user of said premises owned and/or managed by the Defendant,


                                   6.    That at all relevant times herein, the Plaintiff was in the exercise of all due care

                          and caution for her own safety and the safety of others; that care being commensurate with her


                          age, intellect and mental capacity and with the physical circumstances existent at such time and


                          place.
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                                   7     That at the aforesaid time and place, the Plaintiff was then and there lawfully

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                      ,   upon said premises when she did suffer injuries in or at said premises due to a defective

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    o § ^ gf condition on the premises thereon consequential to the negligence of the Defendant, TARGET
    UJ                    CORPORATION, to wit: negligently designed, secured, safeguarded, and /or supervised
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                          escalator allowing accessibility to a shopping cart which fell and struck plaintiff, causing injury,

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                                   8,     That the aforesaid unreasonable dangerous condition was present at said


                          Premises consequential to the negligence of the Defendant as hereinafter set forth,                    :




                                   9.    That the aforesaid unreasonable dangerous condition was not open and obvious to         i




                          Plaintiff who was then and there in the exercise of due care and caution,


                                   10,   That at the aforesaid time and place, and at all relevant times herein, the

                          Defendant had actual or constructive notice of the existence of the aforesaid unreasonably

                          dangerous condition,


                                   11,   That at the aforesaid time and place, and at all relevant times herein, the




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                Defendant, had either actual or constructive notice that its failure to either remedy or repair the

                aforesaid unreasonably dangerous condition, resulted in a high probability that others lawfully


                upon said Premises would suffer serious physical harm as a result of the aforesaid unreasonably

                dangerous condition


                        12.    That at the aforesaid time and place, and at all relevant times herein, the


                Defendant owed a duty to the Plaintiff, MARTHA ESPINOZA, and to the public generally, to
                                                                                                                      L
                refrain from negligent conduct which would endanger the safety of the Plaintiff, said duty


                included, but was not limited to, refraining from a negligent standard of care in the remedy,

                repair and maintenance of said Premises in order to guard against foreseeable injuries to third


                parties proximately caused by the aforesaid unreasonably dangerous condition.
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                        13.    That at the aforesaid time and place, the Defendant, TARGET CORPORATION

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    o           negligently breached its duty to the Plaintiff, by acting with disregard for the safety of the

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1 o§ £          Plaintiff, through one or more of the following acts and/or omissions:


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                       (a) permitted and allowed the aforesaid unreasonably dangerous condition at said
                               Premises to be and remain in an unreasonably dangerous condition;


                       (b)     failure to remedy or repair the aforesaid unreasonably dangerous condition at said
                               Premises;

                       (c)     failed to adequately maintain said Premises;


                       (d)     maintained said Premises in an open, defective condition for an unreasonable
                               length of time;


                       (e)     caused and created and/or allowed the aforesaid unreasonably dangerous
                               condition to remain at said Premises through Defendant's negligence,
                                                                                                                      ;


                       (0      failed to warn plaintiff of the aforesaid unreasonable dangerous condition of said
                               premises.



                       14.     As a direct and proximate result of one or more of the aforesaid acts and/or




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                   omissions of the Defendant, TARGET CORPORATION, Plaintiff, MARTHA ESPINOZA,

                   suffered injuries and damages of a personal, pecuniary and permanent nature.
                                                                                                                                r
                            WHEREFORE, Plaintiff, MARTHA ESPINOZA, demands judgment against the

                   Defendant, TARGET CORPORATION, a domestic corporation, for a sum in excess of FIFTY
                                                                                                                                !


                   THOUSAND DOLLARS ($50,000.00) plus costs,


                                        COUNT II - MARTHA ESPINOZA v. TARGET STORE #2087


                            1.          That on or about July 28, 201 5 and at all relevant times herein, the Defendant,


                   TARGET #2087, was a domestic corporation, organized and licensed to do business and existing

               ^   under   the   laws   of the   State   of Illinois.




                            2.          That at the aforesaid time, and at all relevant times herein, the Defendant did own,    1
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                   operate, manage, and/or control a certain premise, located at or near 4120 W. 95th Street, Oak
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                                                                                                                                1
                   Lawn, Illinois 60453.


                            3.          That at the aforesaid time and place, and at all relevant times herein, the

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    CU             Defendant made said premises available to the general public and said business was, in fact, used
    J
    DJ


                   by the general public.

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                            4,          That at the aforesaid time and place, and at all relevant times herein, Defendant


                   invited and allowed the Plaintiff, MARTHA ESPINOZA to enter upon said premises and
                                                                                                                                1
                   Plaintiff was, in fact, lawfully upon said premises.

                            5.          That at the aforesaid time and place, and at all relevant times herein, the Plaintiff

                   was an intended and permitted user of said premises owned and/or managed by the Defendant,

                            6.          That at all relevant times herein, the Plaintiff was in the exercise of all due care,

                   and caution for her own safety and the safety of others; that care being commensurate with her                   i


                   age, intellect and mental capacity and with the physical ciroumstances existent at such time and



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                                                                                                                           :




                     place.


                              7.     That at the aforesaid time and place, the Plaintiff was then and there lawfully

                     upon said premises when she did suffer injuries in or at said premises due to a defective

                     condition on the premises thereon consequential to the negligence of the Defendant, TARGET

                     #2087, to wit: negligently designed, secured, safeguarded, and /or supervised escalator allowing

                     accessibility to a shopping cart which fell and struck plaintiff, causing injury.

                              8      That the aforesaid unreasonable dangerous condition was present at said

                     Premises consequential to the negligence of the Defendant as hereinafter set forth,


                              9,     That the aforesaid unreasonable dangerous condition was not open and obvious to

                     Plaintiff who was then and there in the exercise of due care and caution
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                              1 0.   That at the aforesaid time and place, and at all relevant times herein, the
      >5 ^
      v->
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            2 go     Defendant had actual or constructive notice of the existence of the aforesaid unreasonably

      °§D<:          dangerous condition,            •


                              11,    That at the aforesaid time and place, and at alL relevant, times herein, the
...   j
      to


                     Defendant, had either actual or constructive notice that its failure to either remedy or repair the

                     aforesaid unreasonably dangerous condition, resulted in a high probability that others lawfully
                                                                                                                               -


                     upon said Premises would suffer serious physical harm as a result of the aforesaid unreasonably

                     dangerous condition.

                              12,    That at the aforesaid time and place, and at all relevant times herein, the

                     Defendant owed a duty to the Plaintiff, MARTHA ESPINOZA, and to the public generally, to

                     refrain from negligent conduct which would endanger the safety of the Plaintiff, said duty

                     included, but was not limited to, refraining from a negligent standard of care in the remedy,

                     repair and maintenance of said Premises in order to guard against foreseeable injuries to third
                                                                                                                               :




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                                                                                                                                 i



                         parties proximately caused by the aforesaid unreasonably dangerous condition.

                                                                                                                                 i
                                 13.    That at the aforesaid time and place, the Defendant, TARGET #2087, negligently


                         breached its duty to the Plaintiff, by acting with disregard for the safety of the Plaintiff, through


                         one or more of the following acts and/or omissions;


                                (a)     permitted and allowed the aforesaid unreasonably dangerous condition at said
                                        Premises to be and remain in an unreasonably dangerous condition;
                                                                                                                                 L
                                (b)     negligent failure to remedy or repair the aforesaid unreasonably dangerous
                                        condition at said Premises;
                                                                                                                                 I

                                (c)     failed to adequately maintain said Premises;

         —."-i: -'i-'i




                                (d)     maintained said Premises in an open, defective condition for an unreasonable
                                        length of time;
                                                                                                                                 i
 a                                      failed to warn the Plaintiff, of the aforesaid unreasonably dangerous condition at
                                (e)
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                                        aid Premises;
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                                (f)     caused and created and/or allowed the aforesaid unreasonably dangerous
 y r- jjw                               condition to remain at said Premises through Defendant's negligence,
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                                14,     As a direct and proximate result of one or more of the aforesaid acts -and/or
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                         omissions of the Defendant, TARGET STORE #2087, Plaintiff, MARTHA ESPfNOZA,                             i

U.,                      suffered injuries and damages of a personal, pecuniary and permanent nature,


                               WHEREFORE, the Plaintiff, MARTHA ESPINOZA, demands judgment against the
                         Defendant, TARGET STORE #2087, a domestic corporation, for a sum in excess of FIFTY
                         THOUSAND DOLLARS ($50,000.00) plus costs,                                                               i




                                                                               Attorney for Plaintiff

                         THE VRDOLYAK LAW GROUP, LLC
                         By: Raqucl Gross
                         Attorney for Plaintiff
                         741 N, Dearborn Street
                         Chicago, IL 60654
                         312-482-8200



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                                        RULE    222   (b)   AFFIDAVIT


                     I,-   the undersigned   am the Plaintiff in this case and under
                                                                                            ;

               penalties provided by the law pursuant to        section 1-109 of the


               Code of Civil procedure certify that the damages sought in this

               laweui      4oes/does not exceed Fifty Thousand Dollars     ($50,000,00)



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